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 June 17, 2022


 VIA ECF FILING
 Magistrate Judge Anne Y. Shields
 100 Federal Plaza
 P.O. Box 840
 Central Islip, New York 11722
 Courtroom 840



 Re:      In re Hain Celestial Heavy Metals Baby Food Litig., No. 2:21-cv-00678-JS-AYS (E.D.N.Y) – Joint
          Letter of the Parties

 Dear Judge Shields,

         We submit this joint letter pursuant to paragraphs V, VI, and VII of your Individual Practice
 Rules. On June 8, 2022, the Parties conducted a Rule 26(f) meet and confer by phone. Melissa Nafash
 and Danielle Izzo were present on behalf of Plaintiffs. Alex Smith was present on behalf of
 Defendant, The Hain Celestial Group, Inc. (“Hain Celestial”). The Parties discussed the
 Confidentiality Order, ESI Protocol, and Discovery Plan Worksheet. The positions of each party are
 as follows:

          1.      Confidentiality Order:

        Plaintiffs’ Position. Plaintiffs propose utilizing Judge Shields’s Stipulation and Order
 Regarding Confidential Information but do not oppose the designation proposed by Defendant.

        Defendant’s Position. Hain Celestial proposes adding a “highly confidential” designation to
 Judge Shields’s Stipulation and Order Regarding Confidential Information. The “highly confidential”
 designation would be limited to ingredient specifications, product formulations, and other documents
 whose disclosure would pose a serious risk of competitive harm to Hain Celestial. The “highly
 confidential” designation would still allow Plaintiffs’ counsel and their experts to review these
 documents, and Plaintiffs have not articulated any prejudice they would suffer from a “highly
 confidential” designation.

          2.      Discovery Plan Worksheet:

             a.   Completion Date for Initial Disclosures: The Parties agree to a completion date of
       June 30, 2022 for Rule 26(a) initial disclosures.
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         b.    Completion Date for Phase I/Tier I Discovery: The Parties have not agreed to a
     completion date.

           Plaintiffs’ Position. Plaintiffs propose a completion date of June 30, 2022.

           Defendant’s Position. This Court’s standing order states that “Tier One discovery is
     expected to be completed no later than 60 days of the initial conference.” Hain Celestial has
     agreed to produce Tier 1 discovery from readily accessible non-custodial sources (such as sales
     data, product labels, product formulations and ingredient specifications, and marketing materials
     stored in marketing share drives or other central repositories) within 60 days of the initial
     conference. There is no need for the June 30, 2022 date Plaintiffs propose.

           c.  Completion Date for Fact Discovery: The Parties agree to propose a completion date
     of nine months from the date Hain Celestial files its answer.

           d.     Completion Date for Expert Discovery, Final Date to Take First Step in Dispositive
     Motion Practice, and Deadline for Submission of a Joint Proposed Pretrial Order: The Parties
     agree that dispositive motion practice should begin after the close of discovery and a ruling on
     Plaintiffs’ anticipated motion for class certification. The Parties also agree that the deadline for
     submission of a joint proposed pretrial order will be thirty days after dispositive motions are filed.
     The Parties do not agree on when expert discovery begins.

           Plaintiffs’ Position. As a compromise to conducting all expert discovery prior to the
     motion for class certification, Plaintiffs propose two schedules for expert discovery: one schedule
     leading up to class certification for experts who will opine on matters central to class certification
     and another following class certification for those who do not.

            Defendant’s Position. Hain Celestial maintains that it is most efficient to require Plaintiffs
     to disclose class certification expert witnesses at the time they file their class certification motion
     and to require Hain Celestial to disclose its class certification rebuttal experts at the time it files its
     opposition to Plaintiffs’ class certification motion. Hain Celestial also anticipates that the parties
     will engage in expert discovery regarding merits issues following a ruling on Plaintiffs’ motion for
     class certification. In lieu of setting two separate schedules for expert discovery, the simplest and
     most efficient solution is to set a uniform deadline for the completion of expert discovery
     approximately three to six months following a ruling on Plaintiffs’ anticipated motion for class
     certification.

         3.      ESI Protocol: The Parties agree to the terms of the ESI Protocol. The Parties also
 agree that Hain Celestial will provide its proposed list of ESI search terms within 30 days after it serves
 its answer, although Plaintiffs reserve their rights to propound written discovery before that time.
 However, the Parties have not agreed to a date by which the Parties must meet and confer in order to
 discuss any proposed limitations on the scope of discovery.
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           Plaintiffs’ Position. Plaintiffs assert that the ESI Protocol should require a meet and confer
    seven days after the deadline for response under the Federal Rules of Civil Procedure (i.e. thirty seven
    days).

           Defendant’s Position. Hain Celestial maintains that there is no need for a rigid seven-day
    requirement to meet and confer about the identification of responsive documents after serving written
    responses to discovery. Hain Celestial is willing to meet and confer in good faith about its objections
    and responses, as well as proposed limitations on the scope of discovery, without the unnecessary
    burden imposed by the seven-day window Plaintiffs propose.

    Based on the foregoing, below is the current version of the Parties’ Discovery Plan Worksheet:

Deadline for completion of Rule 26(a) initial                                                       June 30, 2022
disclosures     and HIPAA-complaint  records
authorizations:

Completion date for Phase I Discovery as agreed upon                                                    [pending]
by the parties:

Status conference TBD by the court:                           15 days after the close of Tier I/Phase I Discovery

Motion to join new parties or amend the pleadings:                                             September 1, 2022

All fact discovery completed by:                                                     9 months following Answer

Expert discovery completed by:                                                                          [pending]

Final date to take first step in dispositive motion                                     [After close of discovery]
practice:

Joint Proposed Pretrial Order to be submitted:                                               [30 days after above]
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 Very truly yours,

 /s/ Michael P. Canty
 LABATON SUCHAROW LLP
 Michael P. Canty
 Carol Villegas
 Melissa H. Nafash
 Danielle Izzo
 140 Broadway
 New York, New York 10005
 Telephone: (212) 907-0700
 Facsimile: (212) 818-0477
 mcanty@labaton.com
 cvillegas@labaton.com
 mnafash@labaton.com
 dizzo@labaton.com

 Appointed Interim Counsel for Plaintiffs and the Proposed Class

 /s/ Dean N. Panos
 JENNER & BLOCK LLP
 Dean N. Panos
 Alexander M. Smith
 Kate T. Spellman
 353 North Clark Street
 Chicago, IL 60654
 Telephone: (312) 923-2765
 DPanos@jenner.com
 Asmith@jenner.com
 KSpelman@jenner.com

 Counsel for Defendant The Hain Celestial Group, Inc.
